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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
CEC DEVELOPMENT BORROWER, LLC, )                    Case No. 20-14573 MER
                                       )            Chapter 11
                   Debtor.             )
______________________________________ )
                                       )
In re:                                 )
                                       )
CEC RENEWABLE ASSETS, LLC,             )            Case No. 20-14574 MER
                                       )            Chapter 11
                   Debtor.             )
______________________________________ )
                                       )
In re:                                 )            Case No. 20-14575 MER
                                       )            Chapter 11
CEC RENEWABLE ASSETS                   )
DEVELOPMENT, LLC,                      )            Jointly Administered Under
                                       )            Case No. 20-14573 MER
                   Debtor.             )


              CHAPTER 11 FINAL REPORT AND MOTION FOR FINAL DECREE


         CEC Development Borrower, LLC (collectively, the “Debtor”), by and through

undersigned counsel, respectfully submits its Chapter 11 Final Report and Motion for Final

Decree. In support, Debtor state as follows:

         1.      Debtors’ First Amended Joint Prepackaged Plan of Liquidation (the “Plan”) was

filed on July 28, 2020 (docket no. 68).

         2.      The Order Confirming Debtors’ First Amended Joint Prepackaged Plan of

Liquidation (the “Plan Confirmation Order”) entered on July 30, 2020 (docket no. 75).

         3.      The Plan Confirmation Order is now final and non-appealable.

         4.      Pursuant to the confirmed Plan and the Plan Confirmation Order, CEC
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Development Borrower, LLC (Case No. 20-14573 MER), CEC Renewable Assets, LLC (Case No.

20-14574 MER), and CEC Renewable Assets Development, LLC (Case No. 20-14575 MER) were

substantively consolidated upon confirmation.

        5.     The deposits required by the Plan have been distributed in accordance with the

provisions of the Plan as shown in Schedule A/B attached hereto.

        6.     Substantially all the property of the Debtor has been transferred according to the

provisions of the Plan as shown in Schedule A/B attached hereto.

        7.     Distribution has been commenced under the Plan, and payments to creditors or

other interested parties have been undertaken as shown in Schedule C attached hereto.

        8.     All motions, contested matters, and adversary proceedings have been finally

resolved.

        WHEREFORE, the Debtor prays for entry of the Final Decree pursuant to Fed.R.Bankr.P.

3022, finding that the estate has been fully administered and, therefore, ordering the closing of the

case.

        Dated this 9th day of December, 2020.

                                      Respectfully submitted,

                                      WADSWORTH GARBER WARNER CONRARDY, P.C.

                                      /s/David V. Wadsworth
                                      _____________________________
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